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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

In re:                                      No. 1:15-bk-01145 (ABG)

CAESARS ENTERTAINMENT
OPERATING COMPANY, INC., et al.,

            Debtors.
WHITEBOX ADVISORS, LLC,                     No. 1:18-cv-01468 (RWG)
            Appellant,

         - against -

EARL OF SANDWICH
(ATLANTIC CITY), LLC,
              Appellee.

  RESPONSE IN OPPOSITION TO MOTION FOR LEAVE TO APPEAL

Dated: March 16, 2018

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         Earl of Sandwich (Atlantic City), LLC (“Earl”), submits this response in

opposition to the motion of Whitebox Advisors, LLC (“Whitebox”) for leave to

appeal the Order [ECF No. 1-5] (“Order”) denying its motion for a protective order.

                                 INTRODUCTION

         Whitebox seeks review of just one issue, “whether the Bankruptcy Court erred

in holding [11 U.S.C. § 107(b)] categorically inapplicable to discovery disclosures.”

(Motion p.3.) Whitebox asks this Court, if it prevails on that issue, to “reverse the

[Order],” and “adopt Whitebox’s proposed protective order,” or “remand [to] the

Bankruptcy Court to determine whether Whitebox has satisfied the conditions of that

provision.” (Id. pp.3-4.) By its motion, Whitebox seeks leave to appeal, under 28

U.S.C. § 158(a)(3). Whitebox argues leave should be granted, notwithstanding that

the Order is interlocutory, because the requirements of 28 U.S.C. § 1292(b) are

satisfied and under the collateral order doctrine. (Motion pp.9-10.) Whitebox is

wrong on both fronts as set forth below.

                 RESPONSE TO WHITEBOX’S FACT SECTION

         A detailed recitation of facts under Rule 8004(b)(1)(A) is unnecessary given

those set forth in the Order. Nevertheless, to clarify the record Earl states as follows:

         Earl disputes Whitebox’s assertion that “Earl sold the claim to Cowen” “the

week before a chapter 11 plan was confirmed.” (Motion p.1.) Whether Earl did or

did not sell the claim is the ultimate question being litigated before the Bankruptcy

Court.
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      Whitebox initiated the subject contested matter, and, during the course of

discovery Whitebox conditioned the production of documents it considered

confidential on Earl’s stipulating to a protective order, and agreeing not to disclose

documents Whitebox designated Confidential pending entry of the same. Earl

agreed to those conditions (not agreeing would have exposed it to sanction risk under

Rules 37(a)(5) and 26(c)(3), made applicable by Rules 7037, 7026, and 9014(c)).

Whitebox thereafter produced documents designated Confidential to Earl, which in

turn advised Whitebox it disagreed with Whitebox’s designation with respect to all

documents so designated.        The parties thereafter conferred concerning the

designations. Whitebox agreed to declassify some documents, but left the vast

majority marked Confidential. Earl advised Whitebox that if the protective order

were entered it would move to declassify the disputed documents.

      Whitebox thereafter submitted the protective order to the Bankruptcy Court

for entry.   At the following hearing, Earl advised the Bankruptcy Court that

Whitebox (not Earl) submitted the protective order for entry. (Jan. 3, 2018 Hr’g Tr.

12:15-20, annexed hereto as Exhibit 1.) The Bankruptcy Court thereafter advised

the parties that it would not be entering the protective order because “It is hard for

me, frankly, to imagine that there would be good cause here. I just can’t see how

anything involved in this dispute would in any way be confidential. But you can

explain why. Okay? So I’d like this done by motion, please.” (Id. 14:15-25.)


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       Following that hearing, Whitebox asked Earl to file the motion, even though

Earl had advised Whitebox that it agreed with the Bankruptcy Court that such order

was inappropriate. When Earl refused, Whitebox moved for a protective order. Earl

opposed the motion. At the hearing on the motion, the Bankruptcy Court invited

Whitebox to file a reply, and Whitebox accepted the invitation. (Jan. 17, 2018 Hr’g

Tr. 13:9-14:20, annexed hereto as Exhibit 2.) The Bankruptcy Court entered the

Order after considering Whitebox’s reply. Whitebox now seeks leave to appeal.

                                   ARGUMENT

I.     WHITEBOX HAS NOT MET ITS BURDEN UNDER 28 U.S.C. §
       1292(b)

       Pursuant to 28 U.S.C. § 1292(b), interlocutory review of a Bankruptcy Court

ruling is proper where the appeal “(1) involves a controlling question of law; (2)

over which there is substantial ground for difference of opinion; and (3) an

immediate appeal may materially advance the ultimate termination of the litigation.”

Trustee of Jartran, Inc. v. Winston & Strawn, 208 B.R. 898, 900 (N.D. Ill. 1997).

       “Such appeals are ‘rarely granted,’ Nystrom v. TREX Co., 339 F.3d 1347, 1351

(Fed. Cir. 2003), and the movant bears the burden of showing that ‘exceptional

circumstances justify a departure from the basic policy of postponing appellate

review until after entry of a final judgment,’ Coopers & Lybrand v. Livesay, 437

U.S. 463, 475 … (1978).” Dahlstrom v. Sun-Times Media, LLC, 39 F. Supp. 3d 998,

1001 (N.D. Ill. 2014).

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      None of the relevant factors have been satisfied.

      There is No Controlling Question of Law.              Whitebox challenges the

Bankruptcy Court’s conclusion that “section 107(b) concerns papers filed in

bankruptcy cases, not discovery material.”        (Order p.3; Motion p.3, Question

Presented.) That legal issue, however, is not a controlling one because its resolution

is not “quite likely to affect the outcome or the further course of litigation.” Jartran,

208 B.R. at 900-01.       The Order was premised upon Whitebox’s not having

demonstrated good cause under Rule 26(c), a finding of fact subject only to clear

error review which Whitebox does not challenge. (Id. pp.3-7.) Significantly, the

Bankruptcy Court found good cause lacking because Whitebox’s moving papers

were devoid of any explanation as to how disclosure of the documents it seeks to

protect would give its competitors an unfair advantage (id.), which is the relevant

inquiry under both section 107(b)(1) and Rule 26(c)(1)(G) (and Rule 9018), all of

which protect “confidential … commercial information” where the movant has

satisfied its burden of showing relevant documents qualify as such.1 In short, the

result did not depend upon whether section 107(b) applies to discovery papers, but

rather the Order was premised upon application of Rule 26, and Whitebox does not

challenge that Rule’s application.

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  Whitebox’s statement that “[t]he rules governing protective orders” are more
generous “in bankruptcy than in ordinary civil litigation” (Motion p.4) is false.
See generally In re Anthracite Capital, Inc., 492 B.R. 162 (S.D.N.Y. 2013).

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      There is No Ground for Difference of Opinion. The Bankruptcy Court cited

In re Handy Andy Home Improvement Centers, Inc., 199 B.R. 376, 380 (Bankr. N.D.

Ill. 1996) and 2 Collier on Bankruptcy ¶107.01 (16th ed.) for its conclusion that

section 107(b) does not apply to discovery materials. (Order p.3.) Whitebox offers

no contrary authority, and instead simply states that Handy Andy, which has been

cited approvingly for over two decades, is wrong, and the Bankruptcy Court’s

conclusion is one “about which reasonable minds could differ.” (Motion pp.7, 10.)

See also In re Dental Profile, Inc., No. 09-cv-6160, 2010 WL 431590, at *4 (N.D.

Ill. Feb. 1, 2010) (quoting Reise v. Bd. of Regents of Univ. of Wis. Sys., 957 F.2d

293, 294-95 (7th Cir. 1992)) (“Because ‘almost all interlocutory appeals from

discovery orders … end in affirmance …’ there is not a substantial likelihood of this

order being overturned and not a substantial ground for difference of opinion”).

      Immediate Appeal Would Not Advance the Litigation. Immediate appeal

would slow the underlying litigation. Earl disputes Whitebox’s confidentiality

designation as to all documents so designated, as noted above. Entry of a protective

order would result in further motion practice concerning whether the subject

documents qualify as confidential commercial information, so that they can be used

in summary judgment papers.




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II.      THE COLLATERAL ORDER DOCTRINE IS INAPPLICABLE

         Whitebox argues leave to appeal should be granted under the collateral order

doctrine of Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541 (1949) because its

motion for a protective order is separable from and collateral to the underlying

inquiry under Rule 3001(e)(2). That argument fails.

         To qualify for collateral order review, an order must be “(1) a conclusive

decision; (2) on an important issue that is conceptually separate from the merits; and

(3) that is effectively unreviewable on an appeal from a final judgment.” Herx v.

Diocese of Fort Wayne-South Bend Inc., 772 F.3d 1085, 1088 (7th Cir. 2014)

(identifying Cohen requirements).

         The Seventh Circuit has made clear the doctrine should be narrowly applied

so as to prevent the exception from swallowing the general rule under 28 U.S.C. §

1291 (which statute 28 U.S.C. § 158(a)(1) is the bankruptcy analogue to). Id. at

1089. It further recognized the doctrine typically only applies to certain recognized

categories of collaterally appealable orders, none of which cover the Order. Herx,

772 F.3d at 1089.

         Other courts have likewise held that the collateral order doctrine does not

apply to denial of a protective order. Siberline Mfg. Co. v. Int’l Nickel Co., 569 F.2d

1217, 1218 (3d Cir. 1977) (“We hold that the order challenged by the appeal

[denying a protective order] is not appealable under the Cohen doctrine and dismiss


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the appeal”); Kirkland v. St. Vrain Valley Sch. Dist. No. RE-1J, 464 F.3d 1182, 1198

(10th Cir. 2006) (“This circuit has repeatedly held that discovery orders are not

appealable under the Cohen doctrine”); In re Chandler, 66 B.R. 334, 337 (N.D. Ga.

1986) (“Because the bankruptcy court’s denial of the debtor’s motion for a protective

order is not a collateral order under the Cohen doctrine … the debtor’s motion for

leave to appeal … is denied”); In re La. Route Operators Inc., No. 94-cv-2642, 1994

WL 449373, at *2 (E.D. La. Aug. 17, 1994) (“the Court finds no basis for granting

appeal of the interlocutory order of the Bankruptcy Court denying the protective

order”).




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                                CONCLUSION

     The motion should be denied, and the appeal should be dismissed.

Dated: March 16, 2018                      Respectfully submitted,

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